                                                                         EXHIBIT B

                                                                                                                                      2022
                                                     February        March           April          May            June           July

                       Revenue
Existing Hosting Contracts Excluding Fire Damaged    $    1,510.00
Existing Hosting Contracts Fire Recovered            $         -     $   2,230.00    $ 2,230.00     $ 2,230.00     $ 2,230.00     $ 2,230.00
New FM Hosting Contract (3500 Boards)                                                $ 70,000.00    $ 70,000.00    $ 70,000.00    $ 70,000.00
Insurance Proceeds (estimated                                                                                      $ 500,000.00
AR Recovery                                                                                                        $ 53,514.96

Less:
                      Expenses
Monthly Power Cost                                   $     557.34    $    870.93     $ 34,900.59    $ 34,900.59    $ 34,900.59    $ 34,900.59
Internet Service                                     $     164.99    $    164.99     $    164.99    $    164.99    $    164.99    $    164.99
Base Rent                                            $     500.00    $    500.00
Increased Base Rent for New Contract (As of 4/1)                                     $ 17,430.00    $ 17,430.00    $ 17,430.00    $ 17,430.00




                Operating Profit/Loss                $     287.67    $    694.08     $ 19,734.42    $ 19,734.42    $ 573,249.38   $ 19,734.42


         Administrative and Chapter 11 Claims
DIP Balance                                          $ 250,000.00    $ 243,013.70    $ 235,077.65   $ 227,009.80   $ 218,937.82   $          -
DIP Interest (Start of Month)                        $ 1,095.89      $        -      $        -     $        -     $        -     $          -
Claims                                               $ 18,563.56     $ 18,563.56     $ 18,563.56    $        -     $        -     $          -
Less:
       Administrative and Chapter 11 Payments
DIP Payment                                          $ 10,000.00     $ 10,000.00     $ 10,000.00    $ 10,000.00    $ 220,797.30
New DIP Interest                                     $ 1,917.81      $ 2,063.95      $ 1,932.15     $ 1,928.03     $ 1,859.47     $          -
Claims Payments                                      $       -       $       -       $ 18,563.56
Chapter 11 Administrative Expenses                   $       -       $       -           $58,000

                    Bank Accounts
 Balance (Start of Month)                            $ 146,757.67 $ 137,045.34 $ 127,739.42 $ 60,910.28            $ 70,644.70    $ 423,096.78
Change                                               $ (9,712.33) $ (9,305.92) $ (66,829.14) $ 9,734.42            $ 352,452.08   $ 19,734.42



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2022
       Aug            September     Oct           Nov           Dec           Total 2022            Jan              Feb             March




       $ 2,230.00     $ 2,230.00    $ 2,230.00    $ 2,230.00    $ 2,230.00                     $     2,230.00   $     2,230.00   $     2,230.00
       $ 70,000.00    $ 70,000.00   $ 70,000.00   $ 70,000.00   $ 70,000.00                    $    70,000.00   $    70,000.00   $    70,000.00

                                                                              $ 1,153,810.00




       $ 34,900.59    $ 34,900.59   $ 34,900.59   $ 34,900.59   $ 34,900.59                    $    34,900.59   $    34,900.59   $    34,900.59
       $    164.99    $    164.99   $    164.99   $    164.99   $    164.99                    $       164.99   $       164.99   $       164.99

       $ 17,430.00    $ 17,430.00   $ 17,430.00   $ 17,430.00   $ 17,430.00                    $    17,430.00   $    17,430.00   $    17,430.00
                                                                              $ 475,218.47




       $ 19,734.42    $ 19,734.42   $ 19,734.42   $ 19,734.42   $ 19,734.42                    $    19,734.42   $    19,734.42   $    19,734.42

                                                                              $ 678,591.53




       $ 442,831.20   $462,565.62   $482,300.04   $502,034.46   $521,768.88                    $   541,503.30   $   561,237.72   $   580,972.14
       $ 19,734.42    $ 19,734.42   $ 19,734.42   $ 19,734.42   $ 19,734.42                    $    19,734.42   $    19,734.42   $    19,734.42



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                                                         2023
    April                May                 June               July              August            September           October




$     2,230.00   $           2,230.00   $     2,230.00    $       2,230.00    $      2,230.00   $       2,230.00    $      2,230.00
$    70,000.00   $          70,000.00   $    70,000.00    $      70,000.00    $     70,000.00   $      70,000.00    $     70,000.00




$    34,900.59   $          34,900.59   $    34,900.59    $      34,900.59    $     34,900.59   $      34,900.59    $     34,900.59
$       164.99   $             164.99   $       164.99    $         164.99    $        164.99   $         164.99    $        164.99

$    17,430.00   $          17,430.00   $    17,430.00    $      17,430.00    $     17,430.00   $      17,430.00    $     17,430.00




$    19,734.42   $          19,734.42   $    19,734.42    $      19,734.42    $     19,734.42   $      19,734.42    $     19,734.42




$   600,706.56   $         620,440.98   $   640,175.40    $     659,909.82    $    679,644.24   $     699,378.66    $    719,113.08
$    19,734.42   $          19,734.42   $    19,734.42    $      19,734.42    $     19,734.42   $      19,734.42    $     19,734.42



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                                                                                                                                                  202
    November           December           Total 2023           January           February          March            April            May




$      2,230.00   $        2,230.00                        $      2,230.00   $      2,230.00   $     2,230.00   $     2,230.00   $     2,230.00
$     70,000.00   $       70,000.00                        $     70,000.00   $     70,000.00   $    70,000.00   $    70,000.00   $    70,000.00
                                      $      866,760.00




$     34,900.59   $       34,900.59                        $     34,900.59   $     34,900.59   $    34,900.59   $    34,900.59   $    34,900.59
$        164.99   $          164.99                        $        164.99   $        164.99   $       164.99   $       164.99   $       164.99

$     17,430.00   $       17,430.00                        $     17,430.00   $     17,430.00   $    17,430.00   $    17,430.00   $    17,430.00
                                      $      629,946.96




$     19,734.42   $       19,734.42                        $     19,734.42   $     19,734.42   $    19,734.42   $    19,734.42   $    19,734.42

                                      $      236,813.04




$    738,847.50   $      758,581.92                        $    778,316.34   $    798,050.76   $   817,785.18   $   837,519.60   $   857,254.02
$     19,734.42   $       19,734.42                        $     19,734.42   $     19,734.42   $    19,734.42   $    19,734.42   $    19,734.42



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      2024
    June               July             August          September         October       November       December        Total 2024       Jan-25




$     2,230.00   $       2,230.00   $    2,230.00   $      2,230.00   $     2,230.00   $ 2,230.00     $ 2,230.00                    $    2,230.00
$    70,000.00   $      70,000.00   $   70,000.00   $     70,000.00   $    70,000.00   $ 70,000.00    $ 70,000.00                   $   70,000.00
                                                                                                                     $ 866,760.00




$    34,900.59   $      34,900.59   $   34,900.59   $     34,900.59   $    34,900.59   $ 34,900.59    $ 34,900.59                   $   34,900.59
$       164.99   $         164.99   $      164.99   $        164.99   $       164.99   $    164.99    $    164.99                   $      164.99

$    17,430.00   $      17,430.00   $   17,430.00   $     17,430.00   $    17,430.00   $ 17,430.00    $ 17,430.00                   $   17,430.00
                                                                                                                     $ 629,946.96




$    19,734.42   $      19,734.42   $   19,734.42   $     19,734.42   $    19,734.42   $ 19,734.42    $ 19,734.42                   $   19,734.42

                                                                                                                     $ 236,813.04




$   876,988.44   $     896,722.86   $ 916,457.28    $ 936,191.70      $ 955,926.12     $ 975,660.54   $ 995,394.96                  $ 1,015,129.38
$    19,734.42   $      19,734.42   $ 19,734.42     $ 19,734.42       $ 19,734.42      $ 19,734.42    $ 19,734.42                   $ 19,734.42



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